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United States Bankruptcy Court for the:
EASTERN DISTRICT OF KENTUCKY

Case number (if known) Chapter you are filing under:
O Chapter 7
a Chapter 11
CO Chapter 12

0) Chapter 13 O Check if this is an
amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

fee Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name

Write the name thatison Donald Ashley

your government-issued — First name First name

picture identification (for

example, your driver's Anthony Louise

license or passport). Middle name Middie name

Bring your picture . . . .

identification to your Fitzpatrick Fitzpatrick

meeting with the trustee. Last name and Suffix (Sr., Jr., Il, Ill) Last name and Suffix (Sr., Jr., If, II!)

2. Allother names you have
used in the last 8 years

Include your married or
maiden names and any
assumed, trade names and
doing business as names.

Do NOT list the name of
any separate legal! entity
such as a corporation,
partnership, or LLC that is
not filing this petition.

3. Only the last 4 digits of
your Social Security
number or federal XXX-XX-4303
Individual Taxpayer
Identification number
(ITIN)

XXX-XX-7552

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Debtor 1

Document

Donald Anthony Fitzpatrick

Debtor2 Ashley Louise Fitzpatrick

Your Employer
Identification Number
(EIN), if any.

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Official Form 101

About Debtor 1:

EIN

1152 Red Lick Road
Berea, KY 40403
Number, Street, City, State & ZIP Code

Madison
County

If your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

Number, P.O. Box, Street, City, State & ZIP Code

Check one:

WM sOver the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

0 _sthave another reason.
Explain. (See 28 U.S.C. § 1408.)

Voluntary Petition for Individuals Filing for Bankruptcy

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Case number (if known)

About Debtor 2 (Spouse Only in a Joint Case):

EIN

If Debtor 2 lives at a different address:

Number, Street, City, State & ZIP Code

County

If Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

Number, P.O. Box, Street, City, State & ZIP Code

Check one:

Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

| have another reason.
Explain. (See 28 U.S.C. § 1408.)

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Debtor1 Donald Anthony Fitzpatrick
Debtor2 Ashley Louise Fitzpatrick Case number (if known)

Tell the Court About Your Bankruptcy Case

7. The chapter of the
Bankruptcy Code you are
choosing to file under

8. How you will pay the fee

9. Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

11. Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
(Form 2010)). Also, go to the top of page 1 and check the appropriate box.

O Chapter 7

Chapter 11
CO Chapter 12
O Chapter 13

i | will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

oO | need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in installments (Official Form 103A).

| request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

Bi No.
0 Yes.
District When Case number
District When Case number
District When Case number
C1 No
Yes.
owned
Debtor Fast Flow Plumbing, LLC Relationship to you business
District E.D.KY When 3/26/24 Case number, if known 24-50346.grs
Debtor Relationship to you
District When Case number, if known
No. Go to line 12.
D Yes. Has your landlord obtained an eviction judgment against you?

oO No. Go to line 12.

oO Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
this bankruptcy petition.

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Debtor 1

eee ae

12. Are you a sole proprietor

13.

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of any full- or part-time
business?

A sole proprietorship is a
business you operate as
an individual, and is not a
separate legal entity such
as a corporation,
partnership, or LLC.

lf you have more than one
sole proprietorship, use a

separate sheet and attach
it to this petition.

Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a small business
debtor or a debtor as
defined by 11 U.S.C. §
1182(1)?

For a definition of small
business debtor, see 11
U.S.C. § 101(51D).

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Donald Anthony Fitzpatrick
Debtor2 Ashley Louise Fitzpatrick

Case number (if known)

Report About Any Businesses You Own as a Sole Proprietor

B No. Go to Part 4.

O] Yes. Name and location of business

Name of business, if any

Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

OHOodd

if you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
proceed under Subchapter V so that it can set appropriate deadlines. !f you indicate that you are a small business debtor or
you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
§ 1116(1)(B).

OONo. | am not filing under Chapter 11.

O No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
Code.

O Yes. I am filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy Code, and
! do not choose to proceed under Subchapter V of Chapter 11.

Bl Yes. tam filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and |

choose to proceed under Subchapter V of Chapter 11.

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14.

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

Official Form 101

No.

CI Yes.
What is the hazard?

If immediate attention is
needed, why is it needed?

Where is the property?

Number, Street, City, State & Zip Code

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Debtor 1

Document

Donald Anthony Fitzpatrick

Debtor2 Ashley Louise Fitzpatrick

oe Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
so, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

Official Form 101

About Debtor 1:

You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

O_sIreceived a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but 1 do not have
a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after 1 made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is grarted
only for cause and is limited to a maximum cf 15
days.

O_ +Iam not required to receive a briefing about
credit counseling because of:

OO _siIncapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

0 _sODisability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

O_sActive duty.
| am currently on active military duty ir a
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

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Case number (if known)

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

lam not required to receive a briefing about credit
counseling because of:

O1_siIncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

1 Disability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

OU Active duty.
lam currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

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Debtor1 Donald Anthony Fitzpatrick
Debtor 2 Ashley Louise Fitzpatrick Case number (if known)
Answer These Questions for Reporting Purposes
16. What kind of debts do 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an

you have?

17. Are you filing under
Chapter 7?

Do you estimate that
after any exempt
property is excluded and
administrative expenses
are paid that funds will
be available for
distribution to unsecured
creditors?

18. How many Creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

ee Sign Below

For you

individual primarily for a personal, family, or household purpose.”

HI No. Go to line 16b.
DC Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

0 No. Go to line 16c.
B Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts

BiNo._ !amnot filing under Chapter 7. Go to lite 18.

O Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses

are paid that funds will be available to distribute to unsecured creditors?

[CI No
Cl Yes

Oo 1-49

Bi 50-99
0 100-199
C1 200-999

Cl $0 - $50,000

C1 $50,001 - $100,000
OC) $100,001 - $500,000
Hi $500,001 - $1 million

OD $0 - $50,000

O $50,001 - $100,000
DD $100,001 - $500,000
Hi $500,001 - $1 million

0 1,000-5,000
D1 5001-10,000
0 10,001-25,000

C1 $1,000,001 - $10 million

C] $10,000,001 - $50 million
C1) $50,000,001 - $100 million
CZ $100,000,001 - $500 million

1 $1,000,001 - $10 million

DO $10,000,001 - $50 million
CZ $50,000,001 - $100 million
Ost 00,000,001 - $500 million

D 25,001-50,000
0 50,001-100,000
OC More than100,000

1 $500,000,001 - $4 billion

D1 $1,000,000,001 - $10 billion
O $10,000,000,001 - $50 billion
0 More than $50 billion

DO $500,000,001 - $1 billion

DO $1,000,000,001 - $10 billion
Oo $10,000,000,001 - $50 billion
O More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief availasle under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this

document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of t tle 11, United States Code, specified in this petition.

! understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a

bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.
Is! Donald Anthony Fitzpatrick |

Donald Anthony Fitzpatrick
Signature of Debtor 1

fs! Ashley Louise Fitzpatrick

Ashley Louise Fitzpatrick
Signature of Debtor 2

Executed on April 29, 2024

Executed on April 29, 2024
MM/DD/YYYY

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Debtor1 Donald Anthony Fitzpatrick

Debtor 2 Ashley Louise Fitzpatrick Case number (if known)
For your attorney, if you are |, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
represented by one under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter

for which the person is eligible. | also certify that 1 have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by —_ and, in a case in which § 707(b)(4)(D) applies, certify that | have no knowledge after an inquiry that the information in the
an attorney, you do not need schedules filed with the petition is incorrect.
to file this page.

isi John T. Hamilton Date April 29, 2024

Signature of Attorney for Debtor MM /DD/YYYY

John T. Hamilton
Printed name

Hamilton Law Offices, PLLC
Firm name
P.O. Box 240

Lexington, KY 40588-0240
Number, Street, City, State & ZIP Cade

Contactphone 859-523-7010 Email address hamilawoff@gmail.com
28127 KY

Bar number & Siate

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